
MONROE, C. J.
This is an application for a writ of mandamus to compel the clerk of the district court for the parish of Red River to grant a suspensive appeal from an order made by him, at the instance of the plaintiff, for a writ of injunction, restraining relator from erecting derricks and drilling for oil and gas upon a certain tract of land in said parish. The application fails to disclose that any previous notice of the intention to make it was given, either to the clerk or to the opposing party or its counsel, as required by rule 15 of this court (67 South, xi);1 and, though the clerk does not, the opposing party (plaintiff herein) does, urge the objection. The same question has been considered in the case of R. W. Davis v. Safety First Oil Co., Inc., 70 South. 47,2 this day decided ; and, for the reasons assigned in that case, it is ordered that this application be dismissed, at the cost of the applicant, without prejudice to any right that it may have to renew the same, upon giving the required notice.

 136 La. xii.


 Ante, p. 89.

